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06                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
07                                       AT SEATTLE

08 UNITED STATES OF AMERICA,              )               CASE NO. CR07-291-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )               DETENTION ORDER
11   CHRISTIAN KLASSEN,                   )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:          Conspiracy to Rob a Pharmacy; Pharmacy Robbery

15 Date of Detention Hearing:        August 29, 2007

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.       Defendant was not interviewed by Pretrial Services. Most of his background

22 information is not available, including personal history, residence, family ties, ties to this District,

     DETENTION ORDER                                                                               15.13
     18 U.S.C. § 3142(i)                                                                        Rev. 1/91
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01 income, financial assets or liabilities, physical/mental health or controlled substance use if any.

02          2.      Defendant’s past criminal record includes numerous failures to appear for hearings,

03 a failure to appear for commitment, probation violations, and bench warrant activity including

04 active bench warrants.

05          3.      The defendant is associated with alias forms of identification including an alias

06 name, two dates of birth, and two social security numbers.

07          4.      Defendant poses a risk of nonappearance due to a history of failing to appear, a

08 history of failing to comply with court orders, and lack of verified background information. He

09 poses a risk of danger due to criminal history and the nature of the current charges.

10          5.      There does not appear to be any condition or combination of conditions that will

11 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

12 to other persons or the community.

13 It is therefore ORDERED:

14          (1)     Defendant shall be detained pending trial and committed to the custody of the

15                  Attorney General for confinement in a correction facility separate, to the extent

16                  practicable, from persons awaiting or serving sentences or being held in custody

17                  pending appeal;

18          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

19                  counsel;

20          (3)     On order of a court of the United States or on request of an attorney for the

21                  Government, the person in charge of the corrections facility in which defendant is

22                  confined shall deliver the defendant to a United States Marshal for the purpose of

     DETENTION ORDER                                                                            15.13
     18 U.S.C. § 3142(i)                                                                     Rev. 1/91
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01               an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 29th day of August, 2007.



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07                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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